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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                         X

 UNITED STATES OF AMERICA                     SECOND
                                              SUPERSEDING
               - v. -                         INDICTMENT

ARI TEMAN,                                   S2 19 Cr. 696 (PAE)

               Defendant.

                                         X

                                  COUNT ONE
                                 (Bank Fraud)

     The Grand Jury charges:

     1.       From at least in or about April 2019 up to and

including at least in or about June 2019, in the Southern

District of New York and elsewhere, ARI TEMAN, the defendant,

willfully and knowingly, did execute and attempt to execute a

scheme and artifice to defraud a financial institution, the

deposits of which were then insured by the Federal Deposit

Insurance Corporation, and to obtain moneys,           funds, credits,

assets, securities, and other property owned by, and under the

custody and control of, such financial institution, by means of

false and fraudulent pretenses, representations, and promises,

to wit, TEMAN deposited counterfeit checks in the name of three

third parties (respectively, "Entity-1," "Entity-2," and

"Entity-3") into an account held at a particular financial
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institution ("Financial Institution-1"), and subsequently

attempted to and did use those funds for his personal benefit.

          (Title 18, United States Code, Section 1344.)

                               COUNT TWO
                              {Bank Fraud)

     The Grand Jury further charges:

     2.   In or about March 2019, in the Southern District of

New York and elsewhere, ARI TEMAN, the defendant, willfully and

knowingly, did execute and attempt to execute a scheme and

artifice to defraud a financial institution, the deposits of

which were then insured by the Federal Deposit Insurance

Corporation, and to obtain moneys, funds, credits, assets,

securities, and other property owned by, and under the custody

and control of, such financial institution, by means of false

and fraudulent pretenses, representations, and promises, to wit,

TEMAN deposited counterfeit checks in the name of Entity-3 and

another third party ("Entity-4") into an account held at

Financial Institution-1, and subsequently attempted to and did

use those funds for his personal benefit.

          (Title 18, United States Code, Section 1344.)

                              COUNT THREE
                              {Wire Fraud)

     The Grand Jury further charges:

     3.   From at least in or about April 2019 up to and

including at least in or about June 2019, in the Southern

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District of New York and elsewhere, ARI TEMAN, the defendant,

willfully and knowingly, having devised and intending to devise

a scheme and artifice to defraud, and for obtaining money and

property.by means of false and fraudulent pretenses,

representations, and promises, did transmit and cause to be

transmitted by means of wire, radio, and television

communication in interstate and foreign commerce, writings,

signs, signals, pictures, and sounds, for the purpose of

executing such scheme and artifice, to wit, TEMAN deposited

counterfeit checks drawing funds from accounts belonging to

"Entity-1," "Entity-2," and "Entity-3" and subsequently

attempted to and did use those funds for his personal benefit,

and in furtherance of such a scheme caused a wire communication

to be sent.

          (Title 18, United States Code, Section 1343.)

                               COUNT FOUR
                              (Wire Fraud)

     The Grand Jury further charges:

     4.   In or about March 2019, in the Southern District of

New York and elsewhere, ARI TEMAN, the defendant, willfully and

knowingly, having devised and intending to devise a scheme and

artifice to defraud, and for obtaining money and property by

means of false and fraudulent pretenses, representations, and

promises, did transmit and cause to be transmitted by means of



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wire, radio, and television communication in interstate and

foreign commerce, writings, signs, signals, pictures, and

sounds, for the purpose of executing such scheme and artifice,

to wit, TEMAN deposited counterfeit checks drawing funds from

accounts belonging to Entity-3 and Entity-4 and subsequently

attempted to and did use those funds for his personal benefit,

and in furtherance of such a scheme caused a wire communication

to be sent.

              (Title 18, United States Code, Section 1343.)

                                COUNT FIVE
                        (Aggravated Identity Theft)

     The Grand Jury further charges:

     5.      In or about March 2019, in the Southern District of

New York and elsewhere, ARI TEMAN, the defendant, did knowingly

transfer, possess, and use, without lawful authority a means of

identification of another person, during and in relation to a

felony violation enumerated in Title 18, United States Code,

Section 1028A(c), to wit, during and in relation to the bank

fraud charged in Count Two of this Indictment, TEMAN deposited a

check using the personal identifying information of an

individual associated with Entity-3.

  (Title 18, United States Code, Sections 1028A(a) (1), 1028A(b),
                             and 2.)




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                                 COUNT SIX
                        (Aggravated Identity Theft)

     The Grand Jury further charges:

     6.      In or about March 2019, in the Southern District of

New York and elsewhere, ARI TEMAN, the defendant, did knowingly

transfer, possess, and use, without lawful authority a means of

identification of another person, during and in relation to a

felony violation enumerated in Title 18, United States Code,

Section 1028A(c), to wit, during and in relation to the bank

fraud charged in Count Two of this Indictment, TEMAN deposited a

check using the personal identifying information of an

individual associated with Entity-4.

  (Title 18, United States Code, Sections 1028A(a) (1), 1028A(b),
                             and 2.)

                           FORFEITURE ALLEGATION

     7.      As a result of committing the offenses alleged in

Counts One and Two of this Indictment, ARI TEMAN, the defendant,

shall forfeit to the United States, pursuant to Title 18, United

States Code, Section 982 (a) (2) (A), any and all property

constituting, or derived from, proceeds the defendant obtained

directly or indirectly, as a result of the commission of said

offenses, including but not limited to a sum of money in United

States currency representing the amount of proceeds traceable to

the commission of said offenses.

     8.      As a result of committing the offenses alleged in

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Counts Three and Four of this Indictment, ARI TEMAN, the

defendant shall forfeit to the United States, pursuant to Title

18, United States Code, Section 981 (a) (1) (C) and Title 28 United

States Code, Section 246l(c), any and all property, real and

personal, that constitutes or is derived from proceeds traceable

to the commission of said offenses, including but not limited to

a sum of money in United States currency representing the amount

of proceeds traceable to the commission of said offenses.

                        Substitute Asset Provision

     9.      If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:

             a.    cannot be located upon the exercise of due

diligence;

             b.    has been transferred or sold to, or deposited

with, a third party;

             c.    has been placed beyond the jurisdiction of the

court;

             d.    has been substantially diminished in value; or

             e.    has been commingled with other property which

cannot be divided without difficulty;

it is the intent of the United States, pursuant to Title 18,

United States Code, Section 982(b) (1), Title 21, United States

Code, Section 853(p) and Title 28, United States Code, Section




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2461(c), to seek forfeiture of any other property of the

defendant up to the value of the forfeitable property described

above.

              (Title 18, United States Code, Section 981;
              Title 18, United States Code, Section 982;
            Title 21, United States Code, Section 853; and
             Title 28, United States Code, Section 2461.)




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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


                            UNITED STATES OF AMERICA

                                          v.

                                    ARI TEMAN,

                                                     Defendant.


                                       SECOND
                                    SUPERSEDING
                                     INDICTMENT

                               S2 19 Cr. 696 (PAE)

                       (18 U.S.C.   §§   1028A, 1343, 1344.)

                               GEOFFREY S. BERMAN




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